      Case 23-05828         Doc 9     Filed 05/03/23 Entered 05/03/23 09:36:20                  Desc Pay Filing
                                         Fee Installments Page 1 of 1
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                                    UNITED STATES BANKRUPTCY COURT
                                          Northern District of Illinois
                                               Eastern Division
                                               219 S Dearborn
                                                  7th Floor
                                              Chicago, IL 60604

                                                  Case No.: 23−05828
                                                       Chapter: 7
                                                Judge: Jacqueline P. Cox

In Re:
   Christopher Durell Frederick
   9238 Gross Point Rd Apt 403
   Skokie, IL 60077
Social Security / Individual Taxpayer ID No.:
   xxx−xx−2426
Employer Tax ID / Other nos.:


                NOTICE OF ORDER APPROVING PAYMENT OF FILING FEE IN INSTALLMENTS


After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the
court orders that:

       The debtor(s) may pay the filing fee in installments on the terms proposed in the application.


Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any additional
property to an attorney or to anyone else for services in connection with this case.




                                                             BY THE COURT

Dated: May 3, 2023                                           Jeffrey P. Allsteadt , Clerk
                                                             United States Bankruptcy Court
